                                                                Case 2:20-cv-00008-KJD-DJA Document 38 Filed 07/09/20 Page 1 of 2



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                                                           6          ewingk@gtlaw.com
                                                           7   Counsel for Onyx & Rose, LLC
                                                           8                              UNITED STATES DISTRICT COURT
                                                           9                                      DISTRICT OF NEVADA
                                                          10   ONYX & ROSE, LLC,                                   Case No. 2:20-cv-00008-KJD-DJA
                                                          11                                 Plaintiff,
                                                                                                                   ORDER TO DISMISS
                                                          12   v.
GREENBERG TRAURIG, LLP
                   10845 Griffith Peak Drive, Suite 600




                                                          13   T1 Payments LLC,
                       Telephone: (702) 792-3773
                       Facsimile: (702) 792-9002
                        Las Vegas, Nevada 89135




                                                          14                                 Defendant.
                                                          15

                                                          16          Plaintiff ONYX & ROSE, LLC, and Defendant T1 PAYMENTS LLC, being the only

                                                          17   parties to this action, hereby stipulate and agree to dismiss the above-captioned action with

                                                          18   prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

                                                          19                                    [Continued on following page]

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                                                           1          The parties further stipulate and agree that each party shall bear its own respective
                                                           2   attorneys’ fees, costs, and expenses in connection with and related to the above-captioned matter.
                                                           3   DATED: July 8, 2020                                 DATED: July 8, 2020
                                                           4
                                                               GREENBERG TRAURIG, LLP                              KAPLAN COTTNER
                                                           5

                                                           6
                                                                 /s/ Kyle A. Ewing                  _                  /s/ Kory L. Kaplan
                                                           7   MARK E. FERRARIO                                    KORY L. KAPLAN
                                                               Nevada Bar No. 1625                                 Nevada Bar No. 13164
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                                                          14                                        IT IS SO ORDERED.
                                                          15
                                                                                                    ________________________________________________
                                                          16                                        UNITED STATES DISTRICT JUDGE
                                                          17                                        DATED: ____________________
                                                                                                            7/9/2020
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